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                                                                                              Tuesday, 18 December, 2018 04:59:59 PM
A091 (Rev. 11/ll) Criminal Complaint
                                                                                                          Clerk, U.S. District Court, ILCD

                                    ·UNITED STATES DISTRICT COURT
                                                                     for the
                                                          Central District of Illinois

                  United States of America                              )
                               v.                                       )
                                                                        )       Case No.
                                                                        )
                                                                        )
                        JEREMY HIX                                      )
                                                                        )
                         Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainantin this case, state that the following is true to the best ofmy knowledge and belief.
On or about the date(s) of          on or before December 17, 2018             in the county of              Vermilion       in the
        Central       District of              Illinois             , the defendant(s) violated:

             Code Section                                                           Offense Description
18 U.S.C. §2252A                                Possession and Receipt of child pornography




          This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT OF SPECIAL AGENT ERIC BOWERS, OHS/HSI.




          ~ Continued on the attached sheet                                              s/Eric Bowers


                                                                                                   Complainant's signature

                                                                                         ERIC BOWERS, Special Agent OHS/HSI
                                                                                                    Printed name and title

Sworn to before me and signed in my presence.                                     s/Eric I. Long


Date:             12/18/2018
                                                                               --r-~;<--------·-___.,,____ ~•~-----------
                                                                               (_.,..                 Judge's signature

City and state:                         Urbana, Illinois                                    ERIC I. LONG, Magistrate Judge
                                                                                                   Printed name and title
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                                           AFFIDAVIT

        I, Eric Bowers, being first duly sworn, depose and state as follows:

                    INTRODUCTION AND AGENT BACKGROUND

        1.     I am a Special Agent with the Department of Homeland Security (DHS),

Homeland Security Investigations (HSI), currently assigned to the Resident Agent in

Charge in Springfield, Illinois. I have been so employed since December 2006. As part

of my daily duties as an HSI Special Agent, I investigate criminal violations relating to

child exploitation and child pornography, including violations pertaining to the illegal

production, distribution, receipt and possession of child pornography, in violation of 18

U.S.C. §§ 2252 and 2252A. I have received training in the area of child pornography and

child exploitation and have had the opportunity to observe and review numerous

examples of child pornography (as defined in 18 U.S.C. § 2256) in various forms of

media including computer media. I have been the Affiant of and participated in the

execution of numerous arrest warrants which involved child exploitation and/ or child

pornography offenses.1

        2.     This affidavit is made in support of a criminal complaint to arrest, Jeremy

HIX for violations of 18 U.S.C. §§ 2252 and 2252A, which among other things, makes it a




       1  The Seventh Circuit Court of Appeals made arguably adverse credibility findings
regarding this witness in United States v. Slaight, 620 F.3d 816 (7th Cir. 2010). To the extent that
the opinion reflects on the testimonial credibility of the agent, the United States respectfully
disagrees. The United States further notes that, in the underlying district court case, the district
court found the Affiant' s testimony credible and there was no finding by the Slaight Court that
the district court's credibility finding was clearly erroneous.
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crime to possess, receive, and distribute child pornography, which has traveled in

interstate commerce via the Internet by means of a computer.

        3.    I am familiar with the information contained in this Affidavit based upon

the investigation I have assisted in and based on my conversations with other law

enforcement officers involved in this investigation.

        4.    Because this Affidavit is being submitted for the limited purpose of

securing an arrest warrant, I have not included each and every fact known to me

concerning this investigation. I have set forth only those facts that I believe are

necessary to establish probable cause to believe that HIX committed child pornography

trafficking offenses in violation of 18 U.S.C. §§ 2252 and 2252A. Where statements of

others are set forth in this Affidavit, they are set forth in substance and in part.

        5.    The investigation has revealed that in August and September 2018, HIX,

using an electronic device that was traced to his residence, did possess, receive, and

distribute child pornography whereby child pornography images were provided

through the internet that were downloaded by HSI Special Agent (SA) Eric Bowers

through the use of an Undercover Investigative Software (hereinafter referred to as

UIS).

              BACKGROUND OF PEER-TO-PEER (P2P) FILE SHARING

        6.    A growing phenomenon on the Internet is peer to peer file sharing

(hereinafter, "P2P"). P2P file sharing is a method of communication available to

Internet users through the use of special software. The software is designed to allow

users to trade digital files through a worldwide network that is formed by linking

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computers together. There are several P2P networks currently operating (such as

Gnutella, eDonkey, and Ares) and several different software applications that can be

used to access these networks but these applications operate in essentially the same

manner.

       7.      To access the P2P networks, a user first obtains the P2P software, which

can be downloaded from the Internet. This software is used for the purpose of sharing

digital files. When the P2P software is installed on a computer, the user is directed to

specify a "shared" folder. All files placed in that user's "shared" folder are available to

anyone on the world-wide network for download.

       8.      A user generally obtains files by conducting keyword searches of the P2P

network. When a user initially logs onto the P2P network, a list of the files that the user

is sharing is transmitted to the network. The P2P software then matches files in these

file lists to keyword search requests from other users. A user looking to download files

simply conducts a keyword search. The results of the keyword search are displayed

and the user then selects file(s) which he/ she wants to download. The download of a

file is achieved through a direct co1mection between the computer requesting the file

and the computer(s) hosting the file. Once a file has been downloaded, it is stored in

the area previously designated by the user and will remain there until moved or

deleted.

      9.       A person interested in sharing child pornography with others in the P2P

network, need only place those files in his/her "shared" folder(s). Those child

pornography files are then available to all users of the P2P network for download

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regardless of their physical location. A person interested in obtaining child

pornography can open the P2P application on his/her computer and conduct a

keyword search for files using a term such as "preteen sex." The keyword search

would return results of files being shared on the P2P network that match the term

"preteen sex." The user can then select files from the search results and those files can

be downloaded directly from the computer(s) sharing those files.

           10.   The computers that are linked together to form the P2P network are

located throughout the world; therefore, the P2P network operates in interstate and

foreign commerce. A person that includes child pornography files in his/her "shared"

folder is hosting child pornography and therefore is promoting, presenting, and

potentially distributing child pornography. A person that hosts child pornography is in

violation of Title 18 Section 2252A(a)(3)(B) in that he/ she is promoting and presenting

child pornography in interstate and foreign commerce by means of a computer.

                                    PROBABLE CAUSE

           11.   The information set forth below is provided as a broad overview of the

investigation conducted to date. It does not include a listing of all investigative

techniques employed or the full and complete results of any of the listed investigative

efforts.

       12.       In August 2018, SA Bowers conducted an authorized online undercover

investigation involving the peer-to-peer distribution of child pornography in the

Central District of Illinois.




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      13.    On August 25, 2018, at approximately 4:16 a.m. Central, SA Bowers,

utilizing the UIS, directly connected to IP address 98.212.248.105 and completed a

single source download of the following image file:

      File name: (( PTHC )) 3 SISTERS (101).jpg (shal:
      JJYKOB6PMUQBAGXF2K6CDUZIDD2ICSF5)
      This image file shows a naked girl, approximately 11-13 years old, who is sitting
      on the edge of a bed. An adult while male is standing in front of the girl. The
      male's penis is pulled out of his pants and is within about 1.5 ft. of the girl's face.
      The picture is taken from the point of view of the adult male looking down at the
      girl. The girl's pubic area is visible and one of her breasts is exposed.

      14.    On September 6, 2018, at approximately 3:35 a.m. Central, SA Bowers,

utilizing the UIS, directly connected to IP address 98.212.248.105 and completed a single

source download of the following image file:

      File name:!! New PTHC !! Even wise little girls are attracted by sex !_03 Lsm Ptsc
      Lolita Nymphet Hussyfan Paradise.jpg (shal:
      YFJQQ75H6JML7NAXZCREI5ZMBISVV24C)
      This image file shows a girl, approximately 7-9 years old, laying on her back on
      the floor. The girl's nightgown is pulled up around her waist and exposing her
      naked genitals. She is touching her genitals with her right hand. The girl is
      watching a television screen on which there appears to be an image of an adult
      male engaging in vaginal or anal intercourse with a girl, approximately 10-12
      years old, who is on her knees on a bed. The adult male is behind her.

      15.    On September 6, 2018, at approximately 4:10 am, SA Bowers, utilizing the

UIS, directly connected to IP address 98.212.248.105 and conducted a single source

download of the following image file:

      File name: !!Pthc Lsm Magazine 9Y o Kidzilla Pre-Teen Young Little Girls Harry
      Potter Jenny - Mrii-1.jpg (shal: TLE34BELZZJQL6NEG66RXPT55VTZH3KB)
      This image file shows a girl, approximately 11-13 years old, who is wearing a
      green plaid dress and sitting on her butt on the floor. The girl's dress is pulled

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       up around her waist thereby exposing her naked genitals to the camera. She is
       leaning back on her left hand and her right arm is draped across her stomach.
       Her right leg is bent at the knee and her right foot is on the ground. Her left leg
       is bent at the knee and her leg is lying flat on the ground. The girl is giving a
       sideways glance to the camera and she is smiling. The focal point of the picture
       appears to be the girl's genitals.

       16.    While directly com,ected to the computer at IP address 98.212.248.105 on

August 25, 2018, and on September 6, 2018, the UIS identified the P2P client running on

that computer as "LimeWireTurbo 7.5.0." The Global Unique Identifier (GUID) on both

dates was shown as "E6F15025A1B7E679152E8A5DE714C800".

       17.    The undersigned reviewed downloaded files and believes, based on my

training and experience, that all of the files contain child pornography as defined in

Title 18, United States Code, Section 2256(8).

       18.    The undersigned determined that IP address 98.212.248.105 was assigned

to Comcast Communications, Moorestown, New Jersey.

       19.    Records provided by Comcast Communications, in response to a DHS

Summons, showed that IP address 98.212.248.105 was assigned to G.H., at a residence

on the 900 block of West Woodlawn Avenue in Danville, Illinois, in the Central District

of Illinois, from July 6, 2018, to September 24, 2018. Jeremy HIX lives at this residence.

       20.    On December 14, 2018, United States Magistrate Judge Eric I. Long

authorized the search of HIX's residence, including all occupants and vehicles

associated with the residence.




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      21.     On December 17, 2018, at approximately 9:30 a.m., HSI agents executed

this warrant at HIX's residence. HIX was present, along with two other adults, C.H.

andG.H.

      22.     Agents observes numerous computer devices and peripherals in a

bedroom occupied by HIX. HIX was asleep in this bedroom, when the agents arrived.

When HIX learned about the nature of the investigation, his demeanor immediately

changed. Your affiant observed him as he was sitting in a chair. HIX placed his hands

over his face and dropped his head to the floor. Agents asked HIX if he would be

willing to speak with them and HIX failed to answer or even raise his head and

acknowledge the agents.

      23.     An on-scene forensic preview of the digital devices located in HIX's

bedroom revealed the following:

              a.    Evidence of LimeWireTurbo P2P software on the Dell Inspiron

laptop.

              b.    The GUID, E6Fl5025A1B7E679152E8ASDE714C800, matching the

target of this investigation captured by SA Bowers' undercover sessions in August and

September 2018 present on the device.

              c.     A folder that was titled "Shared", which was located in the

following file path- \Users\Jiggy1981 \Shared\ ... This file folder was listed as the

directory in which files downloaded by the P2P program were saved on HIX's

computer. The files located in this. folder are, therefore, presumed to have been

downloaded by HIX' s P2P program.

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              d.     Your affiant viewed suspected child pornography files that were

located within that folder and observed the following:

                     1. File name - ! new! (pthc) tara llyr - 2010 susan & dad suck and

                        fuck rare.avi. (This video is approximately 5 minutes long and

                        it shows a naked girl, approximately 10-12 years old,

                        performing oral sex on an adult male. The male then engages in

                        vaginal sex with the girl.)

                     2. File name - !!!New!!! (Pthc) Nina 2 (7Yo Bj) AND

                        7yo_suck_2.avi. (This video is approximately 30 seconds long

                        and it shows a naked girl, approximately 6-8 years old, laying

                        on a bed. A naked adult male straddles her chest and puts his

                        penis in her mouth and masturbates himself.)

                     3. File name - !!! New!!! (Pthc) 8Yo Moni 3 8Yo.avi. (This video is

                        approximately 45 seconds long and it a girl, approimxately 7-9

                        years old, laying on her back on a bed. She is not wearing any

                        pants or underwear. Her legs are pulled up toward her chest

                        and her knees are spread wide, thereby exposing her genitals.

                        An adult male's hand is seen using his fingers to manipulate

                        and stroke the girl's labia.

       24.    Agents spoke with an adult female who stated that she had known HIX

for over 20 years. She stated that he was "like a brother" to her. She stated that she




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    didn't refer to him by his given name of "Jeremy", but rather by a nickname of "Jiggy".

    She stated that her children referred to HIX as "Uncle Jiggy". ·

           25.     A preliminary forensic preview of some electronic devices belonging to

    the three other occupants of the residence revealed no evidence of child pornography

    trafficking related offenses. A full forensic examination of all seized electronic items is

    forthcoming.

                                                       s/Eric Bowers




                                                      Eric V. Bowers, Special Agent
                                                      Department of Homeland Security
                                                      Homeland Security Investigations


      Subscribed and sworn before me this 18th day of December, 2018.
s/Eric I. Long



L   ERIC I. LONG, Magistrate Judge
    United States District Court




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